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12 CALIFORNIA COASTKEEPER ALLIANCE

13

14                         UNITED STATES DISTRICT COURT
15                        EASTERN DISTRICT OF CALIFORNIA
16

17 CALIFORNIA COASTKEEPER ALLIANCE,              Case No. 2:20-cv-01703-SCR
18
                     Plaintiff,                  DECLARATION OF IAN WREN IN
19 vs.                                           SUPPORT OF PLAINTIFF'S MOTION
                                                 FOR INTERIM AWARD OF FEES AND
20 COSUMNES CORPORATION, dba MURIETA             COSTS
   EQUESTRIAN CENTER,
21
                                                 Hearing Date: June 12, 2025
22                        Defendant.             Time: 10:00 AM
                                                 Courtroom: 27, 8th Floor
23                                               Hon. Sean Riordan
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     DECLARATION OF IAN WREN ISO PLAINTIFF’S MOTION FOR AWARD OF INTERIM FEES AND COSTS
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 1                                   DECLARATION OF IAN WREN

 2         I, Ian Wren, provide the following testimony in support of Plaintiff California Coastkeeper

 3 Alliance’s (“Plaintiff”) Motion for Attorney’s Fees and Costs.

 4      I. INTRODUCTION

 5         1.        The facts set forth in this declaration are based on my personal knowledge; if called
 6   to testify as a witness, I could and would competently testify thereto under oath. As to those
 7   matters that reflect a personal opinion, they reflect my personal opinion and judgment upon the
 8   matter.
 9         2.        I am more than eighteen years old and am competent to testify as to the matters set
10   forth herein.
11         3.        Plaintiff California Sportfishing Protection Alliance designated me as an expert
12   witness and a rebuttal expert witness in this litigation.
13         4.        I studied biology and ecology at the University of California, Berkeley, and I hold a
14   M.S. in Hydrology and Sustainable Development from Imperial College, London. I am a Certified
15   Professional in Stormwater Quality (CPSWQ #0790), a California Construction General Permit
16   Qualified SWPPP Developer and Qualified SWPPP Practitioner (QSD/QSP #23331), and a
17   California Industrial Stormwater General Permit Qualified Industrial Storm Water Practitioner
18   (QISP #00814).
19         5.        I am presently employed by San Francisco Baykeeper (“Baykeeper”) as a Staff
20   Scientist and have been since 2010. In that role, I often provide scientific support for Baykeeper’s
21   legal actions. As Baykeeper Staff Scientist, I serve on several scientific-technical committees. I
22   have trained many staff members and volunteers on the collection, handling, and appropriate
23   Quality Assurance/Quality Control (“QA/QC”) procedures for water and sediment sampling. I
24   have performed technical and litigation support on over fifty matters, involving sampling and
25   sample design and identification of appropriate best management practices (“BMPs”).
26         6.        In addition to my role at Baykeeper, I have acted as an independent consultant for
27   several non-profit and public sector clients for the last seven years, including wastewater sector
28   clients in the San Francisco Bay Area. I provide technical and litigation support on water-related

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      DECLARATION OF IAN WREN ISO PLAINTIFF’S MOTION FOR AWARD OF INTERIM FEES AND COSTS
     Case 2:20-cv-01703-SCR          Document 189-13         Filed 04/18/25     Page 3 of 15


 1   matters, including sample collection, project management for the design and permitting of

 2   wastewater treatment wetlands, and program coordination and studies for water quality science

 3   and policy matters.

 4         7.      Before 2010 I worked for six years at environmental consulting firms in Southern

 5   California and the United Kingdom. My areas of focus included habitat restoration, permitting,

 6   and hydrology. As a hydrologist in the United Kingdom, I implemented and managed several

 7   water quality sampling and assessment projects, in addition to flood risk assessments, wetland

 8   delineations, and habitat restoration design efforts.

 9         8.      My resume with additional qualifications is attached hereto as Exhibit 1.

10         9.      I was retained by Plaintiff to provide expert opinions regarding the extent of waters

11   potentially subject to regulation under Section 404 of the Clean Water Act as waters of the United

12   States (“WOTUS”) –– which receive discharges of pollutants from the Murieta Equestrian Center

13   (“MEC Facility” or “Facility”), located at 7200 Lone Pine Drive, Rancho Murieta, California,

14   including but not limited to, the Unnamed Stream what runs adjacent to the southern boundary of

15   the MEC Facility (hereafter the “Unnamed Stream”).

16         10.     I prepared three expert reports in this matter: an Expert Report, a Supplemental

17   Expert Report, and a Second Supplemental Expert Report (collectively the “Expert Reports”) that

18   set forth my opinions.

19         11.     I reviewed extensive documentary evidence to develop my opinions in this case,

20   including, but not limited to, USGS topographic maps, Lidar imagery and historic aerial imagery

21   of the MEC Facility, historic water rights applications for the watershed in which the Unnamed

22   Stream is located, Army Corp of Engineers jurisdictional determinations, drone footage of the

23   entire length of the Unnamed Stream from Laguna Joaquin to its confluence with the Cosumnes

24   River, and the expert report of Defendant’s retained expert Dr. Susan Paulsen.

25         12.     In forming the opinions set forth in the Expert Reports, I inspected the MEC Facility

26   and collected stormwater samples in and discharging them from the MEC Facility on March 18,

27   2021, and April 21, 2022. I also collected a stormwater sample outside the MEC Facility, adjacent

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     DECLARATION OF IAN WREN ISO PLAINTIFF’S MOTION FOR AWARD OF INTERIM FEES AND COSTS
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 1   to Lone Pine Drive on March 15, 2022. I also collected water samples at the confluence of the

 2   Unnamed Stream and Cosumnes River on March 4 and 15, 2022.

 3         13.     I personally maintained custody of all samples collected at all inspections / sampling

 4   events at all times until delivery to the laboratory. In preparation for sampling I prepared all

 5   sampling equipment, obtained sampling bottles from the laboratory.

 6         14.     I conducted in-field measurements, using a published float method developed by the

 7   U.S. Geological Survey, to estimate the mean velocity of the Unnamed Stream and, relatedly, the

 8   time for pollutants discharged from the Facility to reach the Cosumnes River. These findings are

 9   set forth in the Expert Report.

10         15.     I further estimated and formed opinions regarding the percentage of pollutant(s)

11   discharged from the Facility that reaches the Cosumnes River and/or Cosumnes River Preserve.

12   the Expert Report.

13         16.     I reviewed, analyzed, and formed rebuttal opinions regarding – as set forth in my

14   Second Supplemental Expert Report – the opinions Defendant’s expert Dr. Paulsen regarding

15   stream velocity, percentage of pollutants discharged from the Facility that reach the Cosumnes

16   River and/or Cosumnes River Preserve, and regarding my own sampling methodology.

17         17.     I prepared photographs, and annotated maps and aerial imagery of the Facility and

18   surrounding areas to demonstrate: my observations during my inspections at the Facility, the

19   location(s) of samples collected during my various inspections and the concentrations of the

20   constituents analyzed at each location, the path of the Unnamed Stream from the Facility to its

21   confluence with the Cosumnes River, and the historic and modern alignment of the Unnamed

22   Stream. These figures were included in the Expert Reports.

23         18.     I was deposed on four separate occasions by counsel for Defendant regarding my

24   opinions in this matter.

25         19.     I coordinated with counsel for Plaintiff to draft and finalize my declaration in support

26   of Plaintiff’s Phase I Motion for Summary Judgment.

27         20.     Attached hereto as Exhibit 2 is a true and correct copy of my chronological time

28   records that document the time that I spent on this case. I personally and contemporaneously kept

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     DECLARATION OF IAN WREN ISO PLAINTIFF’S MOTION FOR AWARD OF INTERIM FEES AND COSTS
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 1   these records using computer timekeeping software and amended them for clarity documenting the

 2   hours I worked on this case.

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 5        Executed on April 18, 2025 at San Francisco, California.
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 9        Ian Wren
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     DECLARATION OF IAN WREN ISO PLAINTIFF’S MOTION FOR AWARD OF INTERIM FEES AND COSTS
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             EXHIBIT 1
                                                    IAN WREN
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                              P.O. Box 31896, San Francisco, CA 94131 | 415.810.6956 | ian@wrenws.com


                                                         E XP E R IE N C E

INDEPENDENT CONSULTANT                                                                                            2016 – Present
Project management support for the City of San Leandro to design, permit, fundraise for, and construct a multi-benefit treatment
wetland for water quality improvement, habitat restoration, and sea level rise adaptation. (2018 to present)
Grant writing for the City of Palo Alto (Measure AA), San Francisco Estuary Partnership (EPA’s SF Bay Water Quality
Improvement Fund), and Oro Loma Sanitary District (SF Bay Water Quality Improvement Fund).
Technical expert services, on behalf of several non-profit organizations, to perform technical and expert witness services related
to of lawsuits involving alleged stormwater-related Clean Water Act violations. Services include preparing pollution prevention
and monitoring plans, negotiating technical details of settlements, and assisting with compliance determinations.
Project manager and technical lead for a $500k examination of Nature-based Solutions for Wastewater Treatment, on behalf of
the Bay Area Clean Water Association (BACWA) and San Francisco Estuary Institute (SFEI). (2019 to present)
Program coordinator and technical consultant to the SF Bay Nutrient Management Strategy (NMS), a multi-stakeholder effort
to assess nutrient condition, inform regulations, and assist nutrient management efforts. (2016 to present)
      Implement and manage administrative and stakeholder engagement efforts on behalf of the NMS Steering Committee
       and help establish the strategic vision for nutrient assessment and management efforts in the Bay Area.
      Engage with and present to regional experts in the wastewater sector, academia and regulatory agencies on technical and
       policy-related matters related to governance, science and management of nutrients in SF Bay.
      Developed a regional scenario analysis for 37 Bay Area wastewater facilities to inform green infrastructure-based
       approaches to water quality improvement, regulatory compliance and sea level rise adaptation.
      Produce grant proposals to advance nutrient science and management efforts, including a $600k Measure AA proposal
       on behalf of the San Leandro Water Pollution Control Plant to develop green infrastructure options for nutrient reduction.

SAN FRANCISCO BAYKEEPER | Oakland, CA                                                                             2010 – Present
Staff Scientist (part-time)
Provide scientific and policy leadership for an effective non-profit focused on water quality and habitat protection of San
Francisco Bay. Translate science and water quality data into pragmatic approaches for SF Bay water quality improvement.
      Served as an in-house hydrology expert in over 40 Clean Water Act enforcement lawsuits, requiring sampling design,
       analysis and hydrologic/hydraulic modeling, negotiation and mediation in federal court, design and oversight of post-
       construction BMP implementation, as well as review and revisions to NPDES permits and management plans.
      Determine strategic direction in collaboration with Board members, technical leaders and staff to focus limited resources.
      Spearhead advocacy direction for a range of regulatory and scientific focus areas, including but not limited to, nutrient
       management, contaminants, sea level rise adaptation, habitat protection, and stormwater management.
      Routinely present at regulatory hearings and a representative on a number of committees regarding various SF Bay water
       quality issues and policies, including SFEI's Technical Review Committee and the SF Bay NMS Steering Committee.
      Grant writing, project management and implementation of projects funded through NOAA, Google and other donors.
      Developed web-based tools and models to assess regulatory compliance and water quality trends, to facilitate in-house
       management for thousands of Clean Water Act compliance assessments, leading in part to a doubling of programmatic staff.

SKM ENVIROS (now part of Jacobs) | London, UK                                                                        2007 – 2010
Environmental Hydrologist
Environmental Hydrologist and Project Manager within a UK-based international consultancy.
      Managed and implemented projects throughout the UK and portions of the Middle East in the real estate, oil refining,
       wind energy, and public sectors pertaining to water quality, aquatic ecology, flood risk, wetland restoration, European
       Union policy, sustainable urban drainage, and sea level rise adaptation design.
              Case 2:20-cv-01703-SCR                     Ian Wren
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     Led business development efforts for hydro-ecological services, gaining entry to prized regulatory agency contracts and
      other public sector contracts.
     Management or implementation of high profile projects, such as a green roof evaluation for 2012 London Olympics sites;
      construction management of the Qatar Petroleum’s Doha-based headquarters; year-long assessment of bacteria impaired
      shellfish fisheries, pursuant to European Directives, including water quality modeling and assessment of potential
      mitigation and estuarine restoration options; and estuarine plume modeling for SE England’s largest oil refinery.

ATKINS | London, UK                                                                                                         2007
Environmental Hydrologist
Led a consulting project involved monitoring, modeling and reporting of nutrient and sediment transport on behalf of major
wastewater agencies in Southeast England, in preparation for regulations associated with the EUs Water Framework Directive.

SAPPHOS ENVIRONMENTAL | Pasadena, CA                                                                                 2004 – 2006
Resource Management Consultant and Habitat Restoration Specialist
Project manager and technical specialist in a fast-paced environmental consulting firm. Roles included development, assessment
and oversight of aquatic and terrestrial habitat restoration and resource management projects for several high-profile clients,
including LAX, Caltrans, Metropolitan Water District, and wind developers.
     Development and negotiation of multi-stakeholder agreements for wetland, stream and terrestrial restoration projects
     Prepared wetland and ecological documents pursuant to CWA, CEQA/NEPA, state/federal ESA, and other regulations.
     Led federal Endangered Species Act consultations for terrestrial and wetland wildlife throughout Southern California
     Primary client was City of Los Angeles, involving habitat, water and wetland-related compliance for the multi-billion dollar
      LAX Master Plan project, involving complex regulatory compliance negotiations, management of multi-million dollar
      mitigation and restoration projects, and multi-stakeholder mediation.
                                                         Prior Experience
                      Staff Research Associate, UC Los Angeles Dept. of Public Health, 2003 – 2004
        Staff Research Assistant, UC Berkeley Dept. of Environmental Science, Policy and Management, 2000 – 2003

                                                           E D U C A T IO N
   MSc, Hydrology, School of Civil and Env. Engineering, Imperial College of Science Technology and Medicine, UK, 2007
                                          BA, Integrative Biology, UC Berkeley, 2002

                                  P RO F E SS IO N A L A F F I LI A T IO N S A N D T R A I N IN G S

               San Francisco League of Conservation Voters – Board Member and Treasurer, 2012 – Present
                                  Estuary Magazine – Editorial Board, 2016 – Present
                   Several stormwater and hydrological professional credentials (CPSWQ, QISP, QSP)
                    Completion of 38-hour Army Corps of Engineers Wetland Delineation Training

                                                   R E C E N T P U B L IC A TI O N S

  Beck, M. W., de Valpine, P., Murphy, R., Wren, I., Chelsky, A., Foley, M., & Senn, D. B. (2022). Multi-scale trend analysis of
    water quality using error propagation of generalized additive models. Science of the Total Environment, 802, 149927.

  Wren, I. F., Plane, E., Beagle, J., Senn, D.B. Nature-based Solutions for Nutrient Removal. (2021). Prepared on behalf of the
   Bay Area Clean Water Agencies.

  Dozens of reports documenting recommended best management practices for industrial facilities, in my capacity as a
   consultant to provide technical services in Clean Water Act enforcement cases, including one involving Sonoma Horse
   Park, a large equine facility in Sonoma Co., CA.
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             EXHIBIT 2
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                                                        Date   2025-04-02

                                                                                                                                                    Time
Project/Time entry                                      Task   User           Tags             Start date Start time Stop date Stop time Time (h)   (decimal) Billable
ATA - Murrieta Equestrian Center                                                                                                           76:28:31    76.475
                                                invoicing      Ian Wren                        04/06/2021 6:08:48 A 04/06/2021 6:33:25 A    0:24:37     0.410 Yes
                                                invoicing      Ian Wren                        04/06/2021 6:33:29 A 04/06/2021 6:51:20 A    0:17:51     0.298 Yes
                                           2nd proposal        Ian Wren                        08/04/2021 3:20:43 P 08/04/2021 5:00:43 P    1:40:00     1.667 Yes
                                           2nd proposal        Ian Wren                        08/05/2021 5:58:14 A 08/05/2021 6:34:14 A    0:36:00     0.600 Yes
                                     WOTUS analysis            Ian Wren                        08/15/2021 6:38:02 A 08/15/2021 9:49:25 A    3:11:23     3.190 Yes
                                     WOTUS analysis            Ian Wren                        08/16/2021 5:50:42 A 08/16/2021 8:55:42 A    3:05:00     3.083 Yes
                                        memo graphics          Ian Wren                        08/16/2021 2:26:06 P 08/16/2021 4:28:06 P    2:02:00     2.033 Yes
                                        memo graphics          Ian Wren                        08/17/2021 5:29:09 A 08/17/2021 8:06:50 A    2:37:41     2.628 Yes
                                        memo graphics          Ian Wren                        08/17/2021 8:51:18 A 08/17/2021 2:02:01 P    5:10:43     5.179 Yes
                                        memo graphics          Ian Wren                        08/18/2021 5:44:41 A 08/18/2021 8:08:49 A    2:24:08     2.402 Yes
                                        memo graphics          Ian Wren                        08/31/2021 8:30:06 A 08/31/2021 8:30:07 A    0:00:01     0.000 Yes
                                                Site visit     Ian Wren                        08/31/2021 8:30:07 A 08/31/2021 2:56:32 P    6:26:25     6.440 Yes
                                       WOTUS memo              Ian Wren                        09/30/2021 4:06:07 A 09/30/2021 5:33:44 A    1:27:37     1.460 Yes
                                       WOTUS memo              Ian Wren                        09/30/2021 5:34:44 A 09/30/2021 7:38:14 A    2:03:30     2.058 Yes
                                       WOTUS memo              Ian Wren                        09/30/2021 8:09:27 A 09/30/202110:22:34 A    2:13:07     2.219 Yes
                                       WOTUS memo              Ian Wren                        10/01/202110:39:10 A 10/01/2021 1:56:10 P    3:17:00     3.283 Yes
                   MEC call with Jason on traceability         Ian Wren                        10/07/2021 4:10:22 P 10/07/2021 5:05:00 P    0:54:38     0.911 Yes
                      getting photos together for Drev         Ian Wren                        10/28/2021 9:35:37 A 10/28/202110:00:37 A    0:25:00     0.417 Yes
                                    hydrological memo          Ian Wren                        11/06/2021 6:11:36 A 11/06/2021 8:33:00 A    2:21:24     2.357 Yes
                                      document review          Ian Wren                        11/08/2021 5:24:45 A 11/08/2021 6:55:10 A    1:30:25     1.507 Yes
                                    hydrological memo          Ian Wren                        11/08/2021 8:33:08 A 11/08/2021 9:19:39 A    0:46:31     0.775 Yes
                                      document review          Ian Wren                        11/08/2021 2:49:00 P 11/08/2021 5:43:00 P    2:54:00     2.900 Yes
                                           BMP memo            Ian Wren                        11/09/202110:24:26 A 11/09/202110:24:37 A    0:00:11     0.003 Yes
                                           BMP memo            Ian Wren                        11/10/2021 5:20:10 A 11/10/2021 7:23:06 A    2:02:56     2.049 Yes
                                           BMP memo            Ian Wren                        11/10/2021 8:57:58 A 11/10/2021 3:10:18 P    6:12:20     6.206 Yes
                                  BMP memo revision            Ian Wren                        11/11/2021 4:50:02 A 11/11/2021 5:24:28 A    0:34:26     0.574 Yes
                                       WOTUS memo              Ian Wren                        11/12/2021 5:48:15 A 11/12/2021 6:55:58 A    1:07:43     1.129 Yes
                                       WOTUS memo              Ian Wren                        11/12/2021 9:31:39 A 11/12/202112:27:13 P    2:55:34     2.926 Yes
                                       WOTUS memo              Ian Wren                        11/13/2021 4:34:38 A 11/13/2021 8:05:51 A    3:31:13     3.520 Yes
                                                invoicing      Ian Wren                        11/19/2021 6:13:27 A 11/19/2021 6:36:48 A    0:23:21     0.389 Yes
                                         mediation prep        Ian Wren                        11/30/2021 4:32:20 P 11/30/2021 5:08:20 P    0:36:00     0.600 Yes
         post-mediation check in and sampling planning         Ian Wren                        12/03/202111:45:25 A 12/03/2021 1:02:02 P    1:16:37     1.277 Yes
                      investigating drones and kayaks          Ian Wren                        12/04/2021 5:48:07 A 12/04/2021 7:09:07 A    1:21:00     1.350 Yes
                                        Call with Jason        Ian Wren                        12/08/2021 2:15:00 P 12/08/2021 2:42:28 P    0:27:28     0.458 Yes
                         Organizing sampling at MEC            Ian Wren                        12/15/2021 9:11:58 A 12/15/202110:35:30 A    1:23:32     1.392 Yes
                 weather review and site visit planning        Ian Wren                        12/21/2021 6:30:02 A 12/21/2021 6:46:08 A    0:16:06     0.268 Yes
                                     Site visit and prep       Ian Wren                        12/22/2021 4:54:09 A 12/22/202111:44:47 A    6:50:38     6.844 Yes
                     research of bacteria decay rates          Ian Wren                        12/27/2021 5:58:16 A 12/27/2021 7:38:41 A    1:40:25     1.674 Yes
CCKA - Murrieta Equestrian Center                                                                                                          27:23:52    27.398
                                            data review        Ian Wren                        02/19/2021 6:08:10 A 02/19/2021 6:17:01 A    0:08:51     0.148 Yes
                              Call with Tom and Jason          Ian Wren                        02/26/2021 4:24:58 P 02/26/2021 5:14:58 P    0:50:00     0.833 Yes
                                     insurance request         Ian Wren                        03/02/2021 4:22:31 P 03/02/2021 4:31:52 P    0:09:21     0.156 Yes
                      Prep for sampling (finding a lab)        Ian Wren                        03/05/2021 5:25:17 A 03/05/2021 6:10:57 A    0:45:40     0.761 Yes
                                         Sampling prep         Ian Wren                        03/05/202110:20:52 A 03/05/2021 1:02:30 P    2:41:38     2.694 Yes
                                         Sampling prep         Ian Wren                        03/06/2021 6:02:10 A 03/06/2021 6:28:06 A    0:25:56     0.432 Yes
                   Coordination with ATA re sampling           Ian Wren                        03/08/2021 6:44:54 A 03/08/2021 7:07:12 A    0:22:18     0.372 Yes
                                         Sampling prep         Ian Wren                        03/11/2021 9:08:00 A 03/11/202110:57:00 A    1:49:00     1.817 Yes
                                         sampling prep         Ian Wren                        03/17/2021 6:29:02 A 03/17/2021 6:54:37 A    0:25:35     0.426 Yes
                           site map and sampling prep          Ian Wren                        03/17/2021 8:16:22 A 03/17/2021 9:07:35 A    0:51:13     0.854 Yes
                                                site visit     Ian Wren                        03/18/2021 8:35:00 A 03/18/2021 7:28:25 P   10:53:25    10.890 Yes




                                                                                     Page 1 of 2
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                                                                                                                                                Time
Project/Time entry                                      Task   User         Tags             Start date Start time Stop date Stop time Time (h) (decimal) Billable
                                     photo organization        Ian Wren                      03/23/2021 5:51:42 A 03/23/2021 7:09:18 A    1:17:36   1.293 Yes
                                     photo organization        Ian Wren                      03/23/2021 9:22:12 A 03/23/202110:20:47 A    0:58:35   0.976 Yes
                                     photo organization        Ian Wren                      03/23/2021 1:04:53 P 03/23/2021 3:48:48 P    2:43:55   2.732 Yes
                                     photo organization        Ian Wren                      03/23/2021 3:54:41 P 03/23/2021 4:05:15 P    0:10:34   0.176 Yes
                              figure and data synthesis        Ian Wren                      03/25/2021 1:19:03 P 03/25/2021 1:55:18 P    0:36:15   0.604 Yes
                              figure and data synthesis        Ian Wren                      03/26/2021 6:39:00 P 03/26/2021 8:25:00 P    1:46:00   1.767 Yes
                     Call with Jason re: sample results        Ian Wren                      03/31/202112:30:03 P 03/31/202112:58:03 P    0:28:00   0.467 Yes
Total                                                                                                                                   103:52:23 103.873




                                                                                   Page 2 of 2
                                       Case 2:20-cv-01703-SCR                  Document 189-13                Filed 04/18/25                  Page 12 of 15

                                                           Date   2025-04-02

                                                                                                                                                       Time
Project/Time entry                                         Task   User           Tags             Start date Start time Stop date Stop time Time (h)  (decimal) Billable
ATA - Murrieta Equestrian Center                                                                                                            278:17:48 278.297
                            call and follow up with counsel       Ian Wren                        01/04/2022 1:20:53 P 01/04/2022 3:01:53 P   1:41:00     1.683 Yes
                                             WQ research          Ian Wren                        01/05/2022 6:29:00 A 01/05/2022 7:04:00 A   0:35:00     0.583 Yes
                                             sampling prep        Ian Wren                        01/06/2022 2:49:11 P 01/06/2022 4:26:11 P   1:37:00     1.617 Yes
          Coordination and calls with Drev for field work         Ian Wren                        01/07/2022 3:45:00 P 01/07/2022 5:00:00 P   1:15:00     1.250 Yes
                                                    invoicing     Ian Wren                        01/10/2022 4:49:58 P 01/10/2022 5:20:58 P   0:31:00     0.517 Yes
                      sampling prep - Eurofins paperwork          Ian Wren                        01/12/2022 6:35:01 A 01/12/2022 6:53:09 A   0:18:08     0.302 Yes
                                          sensor calibration      Ian Wren                        01/12/2022 9:10:00 A 01/12/2022 9:35:00 A   0:25:00     0.417 Yes
                 call with Jason to discuss expert report         Ian Wren                        01/13/202212:00:05 P 01/13/202212:25:59 P   0:25:54     0.432 Yes
                                                    invoicing     Ian Wren                        01/13/202212:26:16 P 01/13/2022 1:20:16 P   0:54:00     0.900 Yes
                                                   lit review     Ian Wren                        01/27/2022 9:52:45 A 01/27/2022 1:20:25 P   3:27:40     3.461 Yes
                                           writing a QAPP         Ian Wren                        02/04/2022 8:06:55 A 02/04/2022 1:58:25 P   5:51:30     5.858 Yes
                                            Call with Jason       Ian Wren                        02/08/202211:05:00 A 02/08/202211:37:00 A   0:32:00     0.533 Yes
                           looking for historic MEC maps          Ian Wren                        02/08/202212:06:10 P 02/08/2022 1:43:57 P   1:37:47     1.630 Yes
                                       MEC call with drev         Ian Wren                        02/08/2022 3:08:49 P 02/08/2022 3:19:49 P   0:11:00     0.183 Yes
                                          sampling planning       Ian Wren                        02/16/202211:15:37 A 02/16/202212:15:37 P   1:00:00     1.000 Yes
                                  Coordinating drone flight       Ian Wren                        02/18/2022 2:40:00 A 02/18/2022 4:40:00 A   2:00:00     2.000 Yes
                                       Qapp development           Ian Wren                        02/22/2022 9:53:51 A 02/22/202211:54:00 A   2:00:09     2.003 Yes
                             reviewing video and materials        Ian Wren                        02/23/2022 2:35:44 P 02/23/2022 4:21:44 P   1:46:00     1.767 Yes
           calls with Jason and drev re: monitoring prep          Ian Wren                        02/28/202212:30:34 P 02/28/2022 1:00:34 P   0:30:00     0.500 Yes
         sampling prep, video review, calls with counsel          Ian Wren                        03/03/2022 1:17:00 P 03/03/2022 4:20:37 P   3:03:37     3.060 Yes
                                   Site visit and sampling        Ian Wren                        03/04/2022 8:36:44 A 03/04/2022 6:44:22 P 10:07:38     10.127 Yes
                                           call with counsel      Ian Wren                        03/07/2022 1:05:27 P 03/07/2022 2:06:33 P   1:01:06     1.018 Yes
                               bacteria decay investigation       Ian Wren                        03/07/2022 4:24:39 P 03/07/2022 6:53:36 P   2:28:57     2.483 Yes
                               bacteria decay investigation       Ian Wren                        03/07/2022 9:03:30 P 03/07/202210:36:30 P   1:33:00     1.550 Yes
                                              expert report       Ian Wren                        03/08/2022 5:37:52 A 03/08/2022 6:53:20 A   1:15:28     1.258 Yes
                                              expert report       Ian Wren                        03/08/202212:11:46 P 03/08/2022 2:34:30 P   2:22:44     2.379 Yes
                                              expert report       Ian Wren                        03/08/2022 2:34:31 P 03/08/2022 4:31:31 P   1:57:00     1.950 Yes
                                              expert report       Ian Wren                        03/09/2022 5:07:11 A 03/09/2022 6:57:08 A   1:49:57     1.833 Yes
                                              expert report       Ian Wren                        03/09/2022 9:19:02 A 03/09/202210:00:38 A   0:41:36     0.693 Yes
                                              expert report       Ian Wren                        03/09/202212:00:34 P 03/09/2022 3:20:55 P   3:20:21     3.339 Yes
                                              expert report       Ian Wren                        03/10/2022 8:44:03 A 03/10/2022 1:59:04 P   5:15:01     5.250 Yes
                 expert report & calls with Jason & Drev          Ian Wren                        03/10/2022 3:08:02 P 03/10/2022 4:28:48 P   1:20:46     1.346 Yes
                 expert report & calls with Jason & Drev          Ian Wren                        03/10/2022 6:26:19 P 03/10/2022 9:46:09 P   3:19:50     3.331 Yes
                        expert report & travel time calcs         Ian Wren                        03/11/2022 5:20:48 A 03/11/2022 6:21:05 A   1:00:17     1.005 Yes
                        expert report & travel time calcs         Ian Wren                        03/11/2022 9:02:53 A 03/11/2022 1:42:00 P   4:39:07     4.652 Yes
                        expert report & travel time calcs         Ian Wren                        03/11/2022 2:18:58 P 03/11/2022 3:49:58 P   1:31:00     1.517 Yes
                       expert report, calls, sampling prep        Ian Wren                        03/14/2022 6:38:00 A 03/14/2022 3:59:00 P   9:21:00     9.350 Yes
                       expert report, calls, sampling prep        Ian Wren                        03/14/2022 7:23:41 P 03/14/2022 7:56:25 P   0:32:44     0.546 Yes
                                                   Sampling       Ian Wren                        03/15/2022 3:45:00 A 03/15/2022 3:47:31 P 12:02:31     12.042 Yes
                       expert report, calls, sampling prep        Ian Wren                        03/16/2022 6:11:16 A 03/16/2022 7:08:16 A   0:57:00     0.950 Yes
                                              expert report       Ian Wren                        03/16/2022 9:08:12 A 03/16/202210:45:19 A   1:37:07     1.619 Yes
                                            Call with Jason       Ian Wren                        03/16/2022 1:00:57 P 03/16/2022 1:20:59 P   0:20:02     0.334 Yes
                                              expert report       Ian Wren                        03/16/2022 3:45:05 P 03/16/2022 4:28:03 P   0:42:58     0.716 Yes
                  organizing files & photos expert report         Ian Wren                        03/16/2022 5:43:43 P 03/16/2022 7:43:43 P   2:00:00     2.000 Yes
                                   expert report & photos         Ian Wren                        03/17/2022 8:20:15 A 03/17/2022 3:59:56 P   7:39:41     7.661 Yes
                                   expert report & photos         Ian Wren                        03/17/2022 4:57:43 P 03/17/2022 5:50:37 P   0:52:54     0.882 Yes
                                   expert report & photos         Ian Wren                        03/18/2022 5:37:34 A 03/18/202210:59:53 A   5:22:19     5.372 Yes
                                   expert report & photos         Ian Wren                        03/18/202211:29:14 A 03/18/202212:50:28 P   1:21:14     1.354 Yes
                                   expert report & photos         Ian Wren                        03/18/2022 3:03:32 P 03/18/2022 3:21:59 P   0:18:27     0.308 Yes
                                   expert report & photos         Ian Wren                        03/18/2022 3:42:22 P 03/18/2022 5:17:17 P   1:34:55     1.582 Yes




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Project/Time entry                                      Task   User         Tags             Start date Start time Stop date Stop time Time (h) (decimal) Billable
                                          expert report        Ian Wren                      03/19/2022 4:00:54 A 03/19/2022 5:35:43 A   1:34:49    1.580 Yes
                                          expert report        Ian Wren                      03/19/2022 6:06:57 A 03/19/2022 9:05:59 A   2:59:02    2.984 Yes
                                          expert report        Ian Wren                      03/19/202210:15:57 A 03/19/202212:32:12 P    2:16:15   2.271 Yes
                                          expert report        Ian Wren                      03/20/2022 4:58:36 A 03/20/202211:55:48 A   6:57:12    6.953 Yes
                                          expert report        Ian Wren                      03/20/202212:50:46 P 03/20/2022 3:31:14 P   2:40:28    2.674 Yes
                                          expert report        Ian Wren                      03/21/2022 6:00:11 A 03/21/2022 7:20:56 A   1:20:45    1.346 Yes
                                    call with ATA/ccka         Ian Wren                      03/21/2022 9:26:36 A 03/21/202210:06:47 A   0:40:11    0.670 Yes
                                          expert report        Ian Wren                      03/21/2022 2:58:53 P 03/21/2022 4:07:36 P   1:08:43    1.145 Yes
                                    call with ATA/ccka         Ian Wren                      03/21/2022 4:07:41 P 03/21/2022 4:33:41 P   0:26:00    0.433 Yes
                                    call with ATA/ccka         Ian Wren                      03/21/2022 4:35:28 P 03/21/2022 7:28:13 P   2:52:45    2.879 Yes
                                    call with ATA/ccka         Ian Wren                      03/21/2022 7:30:13 P 03/21/2022 7:42:29 P   0:12:16    0.204 Yes
                                          expert report        Ian Wren                      03/21/2022 8:05:45 P 03/22/2022 1:45:10 A   5:39:25    5.657 Yes
                                          expert report        Ian Wren                      03/22/2022 8:14:29 A 03/22/2022 9:13:16 A   0:58:47    0.980 Yes
                                          expert report        Ian Wren                      03/22/202210:05:01 A 03/22/2022 2:01:00 P   3:55:59    3.933 Yes
                                          expert report        Ian Wren                      03/22/2022 3:04:11 P 03/22/2022 5:28:14 P   2:24:03    2.401 Yes
                                               invoicing       Ian Wren                      04/04/202211:18:20 A 04/04/202211:52:17 A    0:33:57   0.566 Yes
                                    doc request review         Ian Wren                      04/05/2022 4:26:00 A 04/05/2022 6:26:00 A   2:00:00    2.000 Yes
                                              depo prep        Ian Wren                      04/06/2022 8:26:37 A 04/06/202211:55:55 A   3:29:18    3.488 Yes
                                              depo prep        Ian Wren                      04/08/2022 1:48:22 P 04/08/2022 5:23:22 P   3:35:00    3.583 Yes
                                              depo prep        Ian Wren                      04/10/2022 4:03:48 A 04/10/2022 7:22:28 A   3:18:40    3.311 Yes
                                      document review          Ian Wren                      04/11/2022 3:51:35 A 04/11/202210:00:19 A   6:08:44    6.146 Yes
                                              depo prep        Ian Wren                      04/11/202211:27:54 A 04/11/2022 2:00:02 P   2:32:08    2.536 Yes
                                      document review          Ian Wren                      04/11/2022 4:04:03 P 04/11/2022 4:29:47 P   0:25:44    0.429 Yes
                                      document review          Ian Wren                      04/11/2022 7:09:00 P 04/11/2022 8:16:10 P   1:07:10    1.119 Yes
                            document review/depo prep          Ian Wren                      04/12/2022 4:23:50 A 04/12/2022 6:59:50 A   2:36:00    2.600 Yes
                     sampling planning/calls with counsel      Ian Wren                      04/18/2022 2:06:00 P 04/18/2022 3:06:00 P   1:00:00    1.000 Yes
                                      sampling planning        Ian Wren                      04/19/202210:32:00 P 04/19/202211:00:00 P    0:28:00   0.467 Yes
                            check in and sampling prep         Ian Wren                      04/20/2022 8:21:39 A 04/20/2022 9:41:39 A   1:20:00    1.333 Yes
                                               Sampling        Ian Wren                      04/21/2022 5:18:00 A 04/21/2022 4:03:00 P 10:45:00    10.750 Yes
              coordination on MEC data and deliverables        Ian Wren                      04/27/2022 3:25:34 A 04/27/2022 4:00:34 A   0:35:00    0.583 Yes
supplemental report and data review, coordination with lab     Ian Wren                      04/28/2022 6:14:36 A 04/28/2022 6:58:56 A   0:44:20    0.739 Yes
         supplemental report and data review, graphics         Ian Wren                      04/28/2022 8:56:36 A 04/28/202210:48:36 A    1:52:00   1.867 Yes
         supplemental report and data review, graphics         Ian Wren                      04/28/202212:10:00 P 04/28/202212:42:07 P   0:32:07    0.535 Yes
         supplemental report and data review, graphics         Ian Wren                      04/28/2022 1:33:01 P 04/28/2022 4:10:47 P   2:37:46    2.629 Yes
         supplemental report and data review, graphics         Ian Wren                      04/28/2022 5:38:00 P 04/28/2022 8:13:40 P   2:35:40    2.594 Yes
         supplemental report and data review, graphics         Ian Wren                      04/29/2022 5:03:00 A 04/29/2022 9:34:23 A   4:31:23    4.523 Yes
         supplemental report and data review, graphics         Ian Wren                      05/02/202211:44:09 A 05/02/2022 4:35:26 P    4:51:17   4.855 Yes
         supplemental report and data review, graphics         Ian Wren                      05/02/2022 5:08:36 P 05/02/2022 5:31:00 P   0:22:24    0.373 Yes
                                              depo prep        Ian Wren                      05/10/2022 4:32:26 A 05/10/2022 7:20:00 A   2:47:34    2.793 Yes
                                               invoicing       Ian Wren                      05/11/2022 5:08:54 A 05/11/2022 6:24:08 A   1:15:14    1.254 Yes
                              Review OC expert report          Ian Wren                      05/24/2022 6:03:08 A 05/24/2022 8:23:00 A   2:19:52    2.331 Yes
                                   expert report review        Ian Wren                      05/27/202210:09:05 A 05/27/202211:09:05 A    1:00:00   1.000 Yes
                                         rebuttal report       Ian Wren                      05/30/2022 1:47:00 P 05/30/2022 5:33:10 P   3:46:10    3.769 Yes
                                         rebuttal report       Ian Wren                      05/31/202211:37:44 A 05/31/2022 2:34:25 P   2:56:41    2.945 Yes
                                         rebuttal report       Ian Wren                      05/31/2022 2:55:00 P 05/31/2022 3:19:02 P   0:24:02    0.401 Yes
                                         rebuttal report       Ian Wren                      05/31/2022 3:40:06 P 05/31/2022 5:32:06 P   1:52:00    1.867 Yes
                                         rebuttal report       Ian Wren                      05/31/2022 7:04:15 P 05/31/202211:06:26 P   4:02:11    4.036 Yes
                                         rebuttal report       Ian Wren                      06/01/2022 6:04:00 A 06/01/2022 6:55:43 A   0:51:43    0.862 Yes
                                         rebuttal report       Ian Wren                      06/01/2022 9:20:37 A 06/01/202211:29:02 A   2:08:25    2.140 Yes
                                         rebuttal report       Ian Wren                      06/01/2022 1:43:54 P 06/01/2022 2:24:56 P   0:41:02    0.684 Yes
                                         rebuttal report       Ian Wren                      06/02/2022 5:38:33 A 06/02/2022 6:10:33 A   0:32:00    0.533 Yes
                                            call with JF       Ian Wren                      06/02/2022 2:46:43 P 06/02/2022 4:23:40 P   1:36:57    1.616 Yes
                  MEC material review from disclosures         Ian Wren                      06/12/2022 3:44:00 P 06/12/2022 4:44:00 P   1:00:00    1.000 Yes
                                               MEC call        Ian Wren                      06/13/2022 9:00:58 A 06/13/2022 9:30:58 A   0:30:00    0.500 Yes




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                                  Review CWA rulings          Ian Wren                      06/17/2022 6:08:54 A 06/17/2022 7:14:28 A   1:05:34    1.093 Yes
                                       call with counsel      Ian Wren                      06/21/202211:14:31 A 06/21/202211:49:31 A    0:35:00   0.583 Yes
                                         rebuttal report      Ian Wren                      06/27/2022 5:30:17 A 06/27/2022 8:15:52 A   2:45:35    2.760 Yes
                                         rebuttal report      Ian Wren                      06/27/202211:12:30 A 06/27/2022 1:45:35 P   2:33:05    2.551 Yes
                                         rebuttal report      Ian Wren                      06/27/2022 3:20:00 P 06/27/2022 4:40:20 P   1:20:20    1.339 Yes
                                         rebuttal report      Ian Wren                      06/28/2022 5:02:25 A 06/28/2022 6:48:29 A   1:46:04    1.768 Yes
                                         rebuttal report      Ian Wren                      06/28/2022 9:22:01 A 06/28/202211:24:57 A   2:02:56    2.049 Yes
                                         rebuttal report      Ian Wren                      06/28/202212:32:00 P 06/28/2022 2:50:48 P   2:18:48    2.313 Yes
                                         rebuttal report      Ian Wren                      06/28/2022 7:12:00 P 06/28/202210:03:20 P   2:51:20    2.856 Yes
                                         rebuttal report      Ian Wren                      06/29/2022 5:25:47 A 06/29/2022 6:55:07 A   1:29:20    1.489 Yes
                                         rebuttal report      Ian Wren                      06/29/2022 9:28:24 A 06/29/2022 1:49:27 P   4:21:03    4.351 Yes
                                         rebuttal report      Ian Wren                      06/29/202210:15:45 A 06/29/202211:29:13 A    1:13:28   1.224 Yes
                              Call with Jason and drev        Ian Wren                      06/30/2022 1:07:44 P 06/30/2022 2:48:00 P   1:40:16    1.671 Yes
                                         rebuttal report      Ian Wren                      06/30/2022 4:21:42 P 06/30/2022 5:46:20 P   1:24:38    1.411 Yes
                                         rebuttal report      Ian Wren                      07/01/2022 4:44:25 A 07/01/2022 5:38:31 A   0:54:06    0.902 Yes
                                         rebuttal report      Ian Wren                      07/06/2022 8:27:41 A 07/06/2022 9:43:53 A   1:16:12    1.270 Yes
                                         rebuttal report      Ian Wren                      07/06/202210:14:42 A 07/06/202212:31:59 P    2:17:17   2.288 Yes
                                         rebuttal report      Ian Wren                      07/07/2022 5:31:03 A 07/07/2022 7:05:16 A   1:34:13    1.570 Yes
                                         rebuttal report      Ian Wren                      07/07/2022 8:39:15 A 07/07/2022 8:51:47 A   0:12:32    0.209 Yes
downloading emails and confirming all documents provi
                                             to MEC           Ian Wren                      07/17/2022 6:08:09 A 07/17/2022 6:38:09 A   0:30:00      0.500 Yes
                                      deposition prep         Ian Wren                      07/18/2022 5:02:21 A 07/18/2022 7:02:32 A   2:00:11      2.003 Yes
                                            invoicing         Ian Wren                      07/20/2022 6:29:04 A 07/20/2022 6:50:43 A   0:21:39      0.361 Yes
                    review and edit suggested BMPs            Ian Wren                      09/23/2022 1:49:23 P 09/23/2022 3:33:00 P   1:43:37      1.727 Yes
CCKA - Murrieta Equestrian Center                                                                                                      14:15:49     14.264
                            Invoicing CCKA re: MEC            Ian Wren                      12/08/2022 5:00:16 A 12/08/2022 5:34:16 A   0:34:00      0.567 Yes
                                          Declaration         Ian Wren                      12/13/2022 6:00:48 A 12/13/202210:04:00 A   4:03:12      4.053 Yes
                                          Declaration         Ian Wren                      12/14/2022 8:30:41 A 12/14/202211:23:52 A   2:53:11      2.886 Yes
                                          Declaration         Ian Wren                      12/14/2022 3:01:13 P 12/14/2022 3:05:33 P   0:04:20      0.072 Yes
                                          Declaration         Ian Wren                      12/14/2022 3:57:11 P 12/14/2022 5:28:11 P   1:31:00      1.517 Yes
                                          Declaration         Ian Wren                      12/15/2022 4:28:53 A 12/15/2022 6:47:55 A   2:19:02      2.317 Yes
                                  Declaration graphic         Ian Wren                      12/16/2022 5:01:00 A 12/16/2022 6:50:00 A   1:49:00      1.817 Yes
                                     declaration edits        Ian Wren                      12/16/2022 3:15:17 P 12/16/2022 3:15:21 P   0:00:04      0.001 Yes
                                     declaration edits        Ian Wren                      12/16/202210:11:42 P 12/16/202211:13:42 P   1:02:00      1.033 Yes
Total                                                                                                                                 292:33:37    292.560




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CCKA - Murrieta Equestrian Center                                                                                                      13:37:50    13.631
                     Call with ATA and Tim Simpson         Ian Wren                        01/12/202411:44:09 A 01/12/2024 2:05:39 P    2:21:30     2.358 Yes
                                      Call with jason      Ian Wren                        03/05/202410:20:00 A 03/05/202410:42:48 A    0:22:48     0.380 Yes
                                      Call with jason      Ian Wren                        03/05/2024 2:33:00 P 03/05/2024 3:01:00 P    0:28:00     0.467 Yes
                   Depo prep and travel to meet Drev       Ian Wren                        03/15/2024 8:39:00 A 03/15/202411:25:32 A    2:46:32     2.776 Yes
                         Depo prep, travel, and Depo       Ian Wren                        03/18/2024 5:00:00 A 03/18/2024 8:42:07 A    3:42:07     3.702 Yes
                                    Depo and travel        Ian Wren                        03/18/2024 8:42:08 A 03/18/202412:31:59 P    3:49:51     3.831 Yes
                                            invoicing      Ian Wren                        04/16/2024 1:50:37 P 04/16/2024 1:57:39 P    0:07:02     0.117 Yes
Total                                                                                                                                  13:37:50    13.631




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